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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF PUERTO RICO

      In re:
      THE FINANCIAL OVERSIGHT AND                             PROMESA
      MANAGEMENT BOARD FOR PUERTO RICO,                       Title III
                 as representative of
      THE COMMONWEALTH OF PUERTO RICO, et al. No. 17 BK 3283-LTS
                                              (Jointly Administered)
                    Debtors.1



      FIFTH NOTICE OF CORRESPONDENCE REGARDING NOTICES OF INTENT TO
                  PARTICIPATE IN CONFIRMATION DISCOVERY




  1
       The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number
       listed as a bankruptcy case number due to software limitations and the last four (4) digits of
       each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of
       Puerto Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID:
       3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No.
       17 BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Employees Retirement
       System of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case
       No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (iv) Puerto Rico Highways
       and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four
       Digits of Federal Tax ID: 3808); (v) Puerto Rico Electric Power Authority (“PREPA”)
       (Bankruptcy Case No. 17 BK 4780 (LTS)) (Last Four Digits of Federal Tax ID: 3747); and
       (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-5523-
       LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as
       Bankruptcy Case numbers due to software limitations).
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  To the Honorable United States District Judge Laura Taylor Swain:

         The Financial Oversight and Management Board for Puerto Rico (the “Oversight Board”),

  as sole Title III representative of the Commonwealth of Puerto Rico (the “Commonwealth”), the

  Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”),

  and the Puerto Rico Public Buildings Authority (“PBA,” and together with the Commonwealth

  and ERS, the “Debtors”) pursuant to section 315(b) of the Puerto Rico Oversight, Management,

  and Economic Stability Act (“PROMESA”),2 respectfully states as follows:

         1.      On August 2, 2021, the Court entered the Order Establishing Procedures and

  Deadlines Concerning Objections to Confirmation and Discovery in Connection Therewith [ECF

  No. 17640] (the “Confirmation Procedures Order”). Therein, the Court set August 15, 2021 as the

  deadline for creditors who intend to serve discovery requests in connection with confirmation of

  the plan of adjustment to file a “Notice of Intent to Participate in Discovery,” also known as a

  “Discovery Notice” (each as defined in the Confirmation Procedures Order). Confirmation

  Procedures Order at 3. The Court also set October 19, 2021 as the deadline for creditors who do

  not intend to serve discovery requests to file a “Notice of Intent to Participate in Discovery” in

  order to gain access to the Plan Depository. Id.

         2.      Although the Notice of Intent to Participate in Discovery instructs creditors who

  are represented by counsel to file their notices using CM/ECF, and instructs creditors who are not

  represented by counsel to “mail the Notice to the Court’s Clerk’s Office” (see Notice of Entry of

  Order Establishing Preliminary Confirmation Submission and Discovery Procedures, and

  Directing Notice to Creditors of the Same, ECF No. 17431-1 at 3), the Oversight Board received

  and continues to receive via mail completed Notices of Intent to Participate in Discovery.


  2
      PROMESA has been codified at 48 U.S.C. §§ 2101-2241.
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           3.      On August 13, 2021, the Oversight Board filed the Notice of Correspondence

  Regarding Notices of Intent to Participate in Discovery [ECF No. 17812] (the “First Notice”),

  submitting to the Court the completed Notices of Intent to Participate in Discovery it had received

  as of the First Notice’s filing date. On August 20, 2021, the Oversight Board filed the Second

  Notice of Correspondence Regarding Notices of Intent to Participate in Discovery [ECF Nos.

  17901-17905] (the “Second Notice”), submitting to the Court the completed Notices of Intent to

  Participate in Discovery it had received as of the Second Notice’s filing date.

           4.      Since the filing of the First and Second Notices, the Oversight Board has received

  via mail additional completed Notices of Intent to Participate in Discovery, which are attached

  hereto as Exhibits 1-30, and 32-50.3,4 The Debtors respectfully request that the Court take notice

  of the foregoing.

                              [Remainder of Page Intentionally Left Blank]




  3
      Exhibit 31 was intentionally omitted.
  4
   Exhibits 32 and 33 were received before August 15, 2021. The remaining exhibits were received
  after August 15, 2021.
                                                2
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  Dated: September 6, 2021
  San Juan, Puerto Rico

                                           Respectfully submitted,

                                           /s/ Martin J. Bienenstock

                                           Martin J. Bienenstock (pro hac vice)
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                                           representative for the Debtors
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                                   CERTIFICATE OF SERVICE

          I hereby certify that, on this same date, I electronically filed the foregoing with the Clerk

  of the Court using the CM/ECF system, which will send notifications of such filing to all CM/ECF

  participants in this case.

                                                                /s/ Hermann D. Bauer
                                                                Hermann D. Bauer
